 

 

 

WQ%L|FCGS@EU fl<lm?Ean UHWJ?F leld 2/22/OO Page|D 187 Pagelof2

lllll|ll llll lllll llllll l|ll llllll lllll lllll ll llll
lllll|llllllllllllllllllllllllllllllll

lllllllll|lllllll|

llllllllllllll

ll|lllllllll|llllll

llllllll lllll ll llll

llllll l|lll lllll ll lllllll lllll lllll llll|l lllll lllll ll lllllll llllll lllll lllll ll llll

lllllll llllll ll lllllll llllll lllll llll l|lll lllll lll llll|lll ll|| lll|l l|l llllllll lll| llllll llll lllll llllll ll llll

LS 12/26/00 10 54
»0130

P V. EQUITRADE SECURITIES

Case 3:OO-cV-01800-|EG-LSP Document 27 Filed12/22/OO Page|D.lSS Page20f2

CORRECTED

MINUTES OF THE UNlTED STATES DlSTRlCT COURT
SOUTHERN DISTR|CT OF CALIFORNIA

HON. IR.M.A E. GQ}§ZALEZ DEPUTY CLK: L. FUCHIGMI REPORTER:
IN CHAMBERS:

OOCVlBOO-IEG(LSP) 293 EDISON CORP et al., v. EQUITRADE SECURITIES et al.,
N/A N/A
++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++++

DEFTS MOT TO COMPEL ARBITRATION (5-1) -WITHDRAWN |2.'1‘5~'00

msz = _[&{2£[@ mmc 90ch 194?“0?3 ti§&)

gl’? llc/3 W

